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                                        DIRECT BOOKING CONTRACT
                                                     “the Agreement”



                                                          BETWEEN:
                                                    Artin Holdings Inc.
                         DBA: Artin AirBNB + Rental Property Management
                                                   “Artin Holdings Inc.”
                                                                AND



                                                  “Michael Zimmerman”




                                                                                                             1
            The Client acknowledges and agrees to the terms and conditions set out on this page


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            Booking Information

            Property: 2 - 1685 W 11th Ave

            Main Booking Guest: Michael Zimmerman

            # Guests: 2

            Check in date: July 4th 2022

            Check out date: October 13th 2022

            Total nights booked: 101

            Cleaning fee: $0

            Total accommodation cost:

            Check in/out Information

            1. Check in time: 4:00pm unless otherwise noted

            2. Check in instructions (key): Check in information will be provided 24 hours prior to

                 check in - including parking information

            3. Parking: Garage Parking

            4. Check out time: 11:00am unless otherwise noted

            5. Check out instructions (key): Check out information will be provided 24 hours prior to

                 check in




                                                                                                             2
            The Client acknowledges and agrees to the terms and conditions set out on this page


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            Terms and Cancellation / House Rules
            1. This booking is non-refundable and no-cancellation policy after payment is made.
            2. If the Guest decides to not stay at the home during the allotted period of time due to
               own accord, Artin Holdings Inc. will not be held responsible.
            3. It is agreed that the Guest is responsible for any damages inside of the property
               during their stay due to Guests fault or negligence.
            4. It is agreed that the check out time is a strict time of 11:00am on October 13th 2022
               and a late check out will result in a $100 fee per hour to compensate our cleaners
               and the following guests checking in.
            5. No parties, large gatherings, events, no smoking within 6 meters of the property or
               indoors.

            6. Overview
                     a. This Extenuating Circumstances Policy explains how cancellations are
                        handled when unforeseen events beyond your control arise after booking and
                        make it impracticable or illegal to complete your reservation. This Policy
                        applies to reservations for both accommodations and Experiences.
                     b. When this Policy allows for cancellation, it controls and takes precedence
                        over the reservation’s cancellation policy. Guests that are impacted by an
                        event covered by this Policy can cancel their reservation and receive,
                        depending on the circumstances, a cash refund, travel credit, and/or other
                        consideration. Hosts that are impacted by an event covered by this Policy can
                        cancel without adverse consequences, but, depending on the circumstances,
                        their calendars may be blocked for the dates of the cancelled reservation.

            7. What events are covered
                  a. This Policy uses the term "Event” to refer to the following situations that occur
                     after booking, are unforeseen at the time of booking, and prevent or legally
                     prohibit completion of the reservation.
            8. Changes to government travel requirements.
                  a. Unexpected changes to visa or passport requirements imposed by a
                     governmental agency that prevent travel to the destination. This doesn’t
                     include lost or expired travel documents or other personal circumstances
                     relating to a guest’s authorization to travel.
            9. Declared emergencies and epidemics.
                  a. Government-declared local or national emergencies, epidemics, pandemics,
                     and public health emergencies. This does not include diseases that are
                     endemic or commonly associated with an area—for example, malaria in
                     Thailand or dengue fever in Hawaii.
            10. Government travel restrictions.



                                                                                                             3
            The Client acknowledges and agrees to the terms and conditions set out on this page


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 Vancouver Luxury Realty
 #204 - 2590 Granville St, Vancouver, BC, V6H-3H1
 Office: 604.899.0220 | Fax: 604.899.0270
 Email: info@vancouverluxuryrealty.com



                                     RESIDENTIAL TENANCY AGREEMENT (PM RTB-1)
 Important Notes: The Residential Tenancy Branch (RTB) is of the opinion that this Residential Tenancy Agreement accurately
 reflects the Residential Tenancy Act (RTA) and accompanying regulations. The RTB makes no representations or warranties
 regarding the use of this Agreement. A landlord and tenant may wish to obtain independent legal advice regarding whether this
 agreement satisfies their own personal or business needs. For the rental of a manufactured home and a manufactured home site
 under a single tenancy agreement, use this Agreement form. For the rental of a manufactured home site use the Manufactured
 Home Site Tenancy Agreement (form RTB-5).

 The words tenant and landlord in this tenancy agreement have the same meaning as in the RTA, and the singular of these
 words includes the plural. In this tenancy agreement, the words residential property have the same meaning as in the RTA.
 Residential property means a building, a part of a building or related group of buildings, in which one mo more rental units or
 common areas are located; the parcel or parcels on which the building, related group of buildings or common areas are located;
 the rental unit and common areas and any other structure located on the parcel or parcels. Both Landlord and Tenant(s) hereby
 are signing in DocuSign and are giving consent that the E-Signature is accepted as a written signature.

 IF ADDITIONAL SPACE IS REQUIRED TO LIST ALL PARTIES, complete and attach Schedule of Parties (form RTB -26)

 --------------------------------------------------------------------------------------------------------------------------------------------------------------------------

 RESIDENTIAL TENANCY AGREEMENT between: (use full, correct legal names)

 the LANDLORD(S): (if entry for landlord is a business name, use the full legal business name)

 Name:

 Name:

 Name:

 and the TENANT(S):

  Name: Michael Zimmerman
                                                                                          Name:
  Name: Vered Zimmerman
                                                                                          Guarantor:
  Name:

  Name:

 --------------------------------------------------------------------------------------------------------------------------------------------------------------------------

 ADDRESS OF PLACE BEING RENTED TO TENANT(S) called the 'rental unit' in this agreement:

 Address: (ID 3880) 2201-1383 Marinaside Crescent , Vancouver , BC V6Z 2W9

 --------------------------------------------------------------------------------------------------------------------------------------------------------------------------

 ADDRESS FOR SERVICE of the landlord's agent: Vancouver Luxury Realty

 Address: #204 - 2590 Granville St, Vancouver, BC, V6H-3H1 Phone: 604.899.0220 Fax: 604.899.0270



                                                                                        1
DocuSign Envelope ID: A7995598-F6BA-419C-9B4A-B34B96205265
                            Case 23-50444-JTD             Doc 46-3       Filed 10/06/23        Page 8 of 20
 1. APPLICATION OF THE RESIDENTIAL TENANCY ACT

     1. The terms of this tenancy agreement and any changes or additions to the terms may not contradict or change any right or
        obligation under the Residential Tenancy Act or a regulation made under that Act, or any standard terms. If a term of this
        tenancy agreement does contradict or change such a right, obligation or standard term, the term of the tenancy agreement
        is void.

     2. Any change or addition to this tenancy agreement must be agreed to in writing and initialed by both the landlord and the
        tenant. If a change is not agreed to in writing, is not initialed by both the landlord and the tenant or is unconscionable, it is
        not enforceable.

     3. The requirement for agreement under subsection (2) does not apply to:

            a) a rent increase given in accordance with the Residential Tenancy Act,
            b) a withdrawal of, or a restriction on, a service or facility in accordance with the Residential Tenancy Act, or
            c) a term in respect of which a landlord or tenant has obtained an arbitrator's order that the agreement of the other is
            not required.


 2. BEGINNING AND TERM OF THE AGREEMENT

      This tenancy created by this agreement starts on: 12/01/2022 .

      [   ] A.) and continues on a month-to-month basis until ended win accordance with the Act.

      [   ] B.) and continues on another periodic basis, as specified as follows, until ended in accordance with the Act.

      [ X ] C.) and is for a fixed term ending on 05/31/2023

      IF YOU CHOOSE C, CHECK AND COMPLETE D OR E

      [ X ] D.) At the end of this time, the tenancy will continue on a month-to-month basis, or another fixed length of time, unless
      the tenant gives notice to end tenancy at least one clear month before the end of the term.

      [ ] E.) At the end of this time, the tenancy is ended and the tenant must vacate the rental unit. This requirement is
      only permitted in circumstances prescribed under section 13.1 of the Residential Tenancy Regulation, or if this is a
      sublease agreement as defined in the Act.

      Reason tenant must vacate (required):

      Residential Tenancy Regulation Section number (if applicable):

      VLR on behalf of Owner Initial

      Tenant Initial


 3. RENT

      a) Payment of Rent: The tenant will pay the rent of           each month to the landlord on the first day of the rental
      period which falls on the 1st day of each month subject to rent increases given in accordance with the RTA.

      The tenant must pay the rent on time. If the rent is late, the landlord may issue a Notice to End Tenancy for Unpaid Rent
      (form RTB-30) to the tenant, which may take effect not earlier than 10 days after the date the notice is given.

      b) Subject to clause 12, For additional Occupants the tenant agrees that for each additional tenant or occupant not named
      in this lease, the rent will increase by $200.00 per person per month. The Landlord's acceptance of any additional tenant or
      occupant does not otherwise change this Agreement or create new tenancy.

      c) What is included in the rent: The landlord must not terminate, or restrict a service or facility that is essential to the
      tenant's use of the rental unit as living accommodation, or that is a material term of the tenancy agreement.
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  Cablevision: Yes                                       Kitchen Scrap Collection: Yes                     Sheets & Towels: Yes
  Carpets: Yes                                           Laundry (free): Yes                               Snow Removal: No
  Dishwasher: Yes                                        Laundry (coin-op): No                             Storage: No
  Electricity: Yes                                       Natural Gas: Yes                                  Stove & Oven: Yes
  Furniture: Yes                                         Recreation Facilities: Yes                        Water: Yes
  Garbage Collection: Yes                                Recycling Services: Yes                           Window Coverings: Yes
  Heat: Yes                                              Refrigerator: Yes                                 Other:
  Internet: Yes                                          Sewage Disposal: Yes                              Other:


      Parking: Yes for number of vehicles: 2

      Additional Information: Hydro capped to $250/month. Any overages the responsibility of the tenant. Property comes
      furnished as is, where is.


 4. SECURITY DEPOSIT AND PET DAMAGE DEPOSIT

      a) Security Deposits / Pet Deposits. The tenant is required to pay a deposits of               by 11/04/2022 . ( If amount
      is equivalent to one month's rent then the 50% of the amount is security deposit and another 50% of the amount is pet
      deposit. If amount is only equivalent to half month's rent then pets are not allowed during the term of the tenancy and pet
      deposit is not applicable.)

           1) The landlord agrees

                a) that the security deposit and pet damage deposit must each not exceed one half of the monthly rent payable for
                the residential property,
                b) to keep the security deposit and pet damage deposit during the tenancy and pay interest on it in accordance
                with the regulation, and
                c) to repay the security deposit and pet damage deposit and interest to the tenant within 15 days of the end of the
                tenancy agreement, unless

                     i) the tenant agrees in writing to allow the landlord to keep an amount as payment for unpaid rent or damage,
                     or
                     ii) the landlord applies for dispute resolution under the Residential Tenancy Act within 15 days of the end of
                     the tenancy agreement to claim some or all of the security deposit or pet damage deposit.

           2) The 15 day period starts on the later of

                a) the date the tenancy ends, or
                b) the date the landlord receives the tenant's forwarding address in writing.

           3) If a landlord does not comply with subsection (1), the landlord

                a) may not make a claim against the security deposit or pet damage deposit, and
                b) must pay the tenant double the amount of the security deposit, pet damage deposit, or both.

           4) The tenant may agree to use the security deposit and interest as rent only if the landlord gives written consent.


 5. PETS

 Any term in this tenancy agreement that prohibits, or restricts the size of, a pet or that governs the tenant's obligations regarding
 the keeping of a pet on the residential property is subject to the rights and restrictions under the Guide Dog and Service Dog Act.

  ( X 1 Dog ) Pet(s) is allowed during the term of Tenancy. If tenant has a pet the pet must be the same with the pet listed on the
 application. In case there are pet changes the Tenant(s) are responsible to update the Landlord(s).

   ( ) Pet(s) is not allowed during the term of Tenancy.
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 6. CONDITION INSPECTIONS

      1) In accordance with sections 23 and 35 of the Act [condition inspections] and Part 3 of the regulation [condition
      inspections], the landlord and tenant must inspect the condition of the rental unit together

           a) when the tenant is entitled to possession,
           b) when the tenant starts keeping a pet during the tenancy, if a condition inspection was not completed at the start of
           the tenancy, and
           c) at the end of the tenancy.

      2) The landlord and tenant may agree on a different day for the condition inspection.

      3) The right of the tenant or the landlord to claim against a security deposit or a pet damage deposit, or both, for damage to
      residential property is extinguished if that party does not comply with section 24 and 36 of the Residential Tenancy Act
      [consequences if report requirements not met].


 7. PAYMENT OF RENT

      1) The tenant must pay the rent on time, unless the tenant is permitted under the Act to deduct from the rent. If the rent is
      unpaid, the landlord may issue a 10 Day Notice to End Tenancy (form earlier than 10 days after the date the tenant receives
      the notice.

      2) The landlord must not take away or make the tenant pay extra for a service or facility that is already included in the rent,
      unless a reduction is made under section 27 (2) of the Act.

      3) The landlord must give the tenant a receipt for rent paid in cash.

      4) The landlord must return to the tenant on or before the last day of the tenancy any post -dated cheques for rent that
      remain in the possession of the landlord. If the landlord does not have a forwarding address for the tenant and the tenant
      has vacated the premises without notice to the landlord, the landlord must forward any post-dated cheques for rent to the
      tenant when the tenant provides a forwarding address in writing.


 8. RENT INCREASE

      1) Once a year the landlord may increase the rent for the existing tenant. The landlord may only increase the rent 12 months
      after the date that the existing rent was established with the tenant or 12 months after the date of the last legal rent increase
      for the tenant, even if there is a new landlord or a new tenant by way of an assignment. The landlord must use the approved
      Notice of Rent Increase form available from any Residential Tenancy Branch office or Service BC office.

      2) A landlord must give a tenant three whole months notice, in writing, of a rent increase. [For example, if the rent is due on
      the 1st of the month and the tenant is given notice any time in January, including January 1st, there must be three whole
      months before the increase begins. In this example, the months are February, March and April, so the increase would begin
      on May 1st.]

      3) The landlord may increase the rent only in the amount set out by the regulation. If the tenant thinks the rent increase is
      more than is allowed by the regulation, the tenant may talk to the landlord or contact the Residential Tenancy Branch for
      assistance.

      4) Either the landlord or the tenant may obtain the percentage amount prescribed for a rent increase from the Residential
      Tenancy Branch.


 9. ASSIGN OR SUBLET

      1) The tenant may assign or sublet the rental unit to another person with the written consent of the landlord. If this tenancy
      agreement is for a fixed length and has 6 months or more remaining in the term, the landlord must not unreasonably

                                                                   4
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      withhold consent. Under an assignment a new tenant must assume all of the rights and obligations under the existing
      tenancy agreement, at the same rent. The landlord must not charge a fee or receive a benefit, directly or indirectly, for giving
      this consent.

      2) If a landlord unreasonably withholds consent to assign or sublet or charges a fee, the tenant may apply for dispute
      resolution under the Residential Tenancy Act.


 10. REPAIRS

      1) Landlord's obligations:

           a) The landlord must provide and maintain the residential property in a reasonable state of decoration and repair,
           suitable for occupation by a tenant. The landlord must comply with health, safety and housing standards required by
           law.

           b) If the landlord is required to make a repair to comply with the above obligations, the tenant may discuss it with the
           landlord. If the landlord refuses to make the repair, the tenant may seek an arbitrator's order under the Residential
           Tenancy Act for the completion and costs of the repair.

      2) Tenant's obligations:

           a) The tenant must maintain reasonable health, cleanliness and sanitary standards throughout the rental unit and the
           other residential property to which the tenant has access. The tenant must take the necessary steps to repair damage
           to the residential property caused by the actions or neglect of the tenant or a person permitted on the residential
           property by the tenant. The tenant is not responsible for reasonable wear and tear to the residential property.

           b) If the tenant does not comply with the above obligations within a reasonable time, the landlord may discuss the
           matter with the tenant and may seek a monetary order through dispute resolution under the Residential Tenancy Act for
           the cost of repairs, serve a notice to end a tenancy, or both.

      3) Emergency Repairs:

           a) The landlord must post and maintain in a conspicuous place on the residential property, or give to the tenant in
           writing, the name and telephone number of the designated contact person for emergency repairs.

           b) If emergency repairs are required, the tenant must make at least two attempts to telephone the designated contact
           person, and then give the landlord reasonable time to complete the repairs.

           c) If the emergency repairs are still required, the tenant may undertake the repairs, and claim reimbursement from the
           landlord, provided a statement of account and receipts are given to the landlord. If the landlord does not reimburse the
           tenant as required, the tenant may deduct the cost from rent. The landlord may take over completion of the emergency
           repairs at any time.

           d) Emergency repairs must be urgent and necessary for the health and safety of persons or preservation or use of the
           residential property and are limited to repairing

                i) major leaks in pipes or the roof,
                ii) damaged or blocked water or sewer pipes or plumbing fixtures,
                iii) the primary heating system,
                iv) damaged or defective locks that give access to a rental unit, or
                v) the electrical systems.


 11. OCCUPANTS AND GUESTS

 Tenant(s): Michael Zimmerman, Vered Zimmerman

 Other Occupants:

      1) The landlord must not impose restrictions on guests and must not require or accept any extra charge for daytime visits or

                                                                   5
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      overnight accommodation of guests.

      2) The landlord must not stop the tenant from having guests under reasonable circumstances in the rental unit.

      3) If the number of occupants in the rental unit is unreasonable, the landlord may discuss the issue with the tenant and may
      serve a notice to end a tenancy. Disputes regarding the notice may be resolved through dispute resolution under the
      Residential Tenancy Act.



 12. ADDITIONAL OCCUPANTS

      Only persons listed in this Tenancy Agreement may occupy the rental unit or residential property. Any other person who,
      without the landlord's written permission, occupies or resides in the rental unit or on the residential property for more than 14
      cumulative days in a calendar year will be doing so contrary to this Agreement. The tenant must apply in writing to the
      landlord if the tenant wishes a person not named in this Agreement to become an occupant or co-tenant. Failure to obtain
      the landlord's written permission is a breach of a material term of this Tenancy Agreement.



 13. LOCKS

      1) The landlord must not change locks or other means of access to residential property unless the landlord provides each
      tenant with new keys or other means of access to the residential property.

      2) The landlord must not change locks or other means of access to a rental unit unless the tenant agrees and is given new
      keys.

      3) The tenant must not change locks or other means of access to

           a) common areas of residential property, unless the landlord consents to the change, or
           b) his or her rental unit, unless the landlord consents in writing to, or an arbitrator has ordered, the change.


 14. LANDLORD'S ENTRY INTO RENTAL UNIT

      1) For the duration of this tenancy agreement, the rental unit is the tenant's home and the tenant is entitled to quiet
      enjoyment, reasonable privacy, freedom from unreasonable disturbance, and exclusive use of the rental unit.

      2) The landlord may enter the rental unit only if one of the following applies:

           a) at least 24 hours and not more than 30 days before the entry, the landlord gives the tenant a written notice which
           states

                i) the purpose for entering, which must be reasonable, and
                ii) the date and the time of the entry, which must be between 8 a.m. and 9 p.m. unless the tenant agrees
                otherwise;

           b) there is an emergency and the entry is necessary to protect life or property;
           c) the tenant gives the landlord permission to enter at the time of entry or not more than 30 days before the entry;
           d) the tenant has abandoned the rental unit;
           e) the landlord has an order of an arbitrator or court saying the landlord may enter the rental unit;
           f) the landlord is providing housekeeping or related services and the entry is for that purpose and at a reasonable time.

      3) The landlord may inspect the rental unit monthly in accordance with subsection (2) (a).

      4) If a landlord enters or is likely to enter the rental unit illegally, the tenant may apply for an arbitrator's order under th e
      Residential Tenancy Act, to change the locks, keys or other means of access to the rental unit and prohibit the landlord from
      obtaining entry into the rental unit. At the end of the tenancy, the tenant must give the key to the rental unit to the landlord.



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 15. ENDING THE TENANCY

      1) The tenant may end a monthly, weekly or other periodic tenancy by giving the landlord at least one month's written notice.
      A notice given the day before the rent is due in a given month ends the tenancy at the end of the following month. [For
      example, if the tenant wants to move at the end of May, the tenant must make sure the landlord receives written notice on or
      before April 30th.]

      2) This notice must be in writing and must

           a) include the address of the rental unit,
           b) include the date the tenancy is to end,
           c) be signed and dated by the tenant, and
           d) include the specific grounds for ending the tenancy, if the tenant is ending a tenancy because the landlord has
           breached a material term of the tenancy.

      3) If this is a fixed term tenancy and the agreement does not require the tenant to vacate at the end of the tenancy, the
      agreement is renewed as a monthly tenancy on the same terms until the tenant gives notice to end a tenancy as required
      under the Residential Tenancy Act.

      4) The landlord may end the tenancy only for the reasons and only in the manner set out in the Residential Tenancy Act and
      the landlord must use the approved notice to end a tenancy form available from the Residential Tenancy Branch.

      5) The landlord and tenant may mutually agree in writing to end this tenancy agreement at any time. 6) The tenant must
      vacate the residential property by 1 p.m. on the day the tenancy ends, unless the landlord and tenant otherwise agree.

      6) The tenant must vacate the residential property by 1 p.m. on the day the tenancy ends, unless the landlord and tenant
      otherwise agree.



 16. LANDLORD TO GIVE TENANCY AGREEMENT TO TENANT

 The landlord must give the tenant a copy of this agreement promptly, and in any event within 21 days of entering into the
 agreement.


 17. RESOLUTION OF DISPUTES

 Either the tenant or the landlord has the right to apply for dispute resolution to resolve a dispute, as provided under the
 Residential Tenancy Act.


 18. ADDITIONAL TERMS

      a) Write down any additional terms which the tenant and the landlord agree to. Additional terms may cover matters such as
      pets, yard work, smoking and snow removal. Additional pages may be added.

      b) Any addition to this tenancy agreement must comply with the Residential Tenancy Act and regulations, and must clearly
      communicate the rights and obligations under it. If a term does not meet these requirements, or is unconscionable, the term
      is not enforceable.

      c) Attached to this tenancy agreement, there is an Addendum.

      If there is an Addendum attached, provide the following information on the Addendum that forms part of this tenancy
      agreement:

      Number of pages of the Addendum: 5        Number of additional terms in the Addendum: 22




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 By signing this tenancy agreement, the landlord and the tenant are bound by its terms.

 LANDLORD(S): Agreed and signed by Vancouver Luxury Realty on behalf of Owner.

 Name:     Baxter Welch

   Signature:                                                Date:   Nov-07-2022 | 8:34:56 AM PST



 TENANT(S): Agreed and signed by each Tenant.

 Name: Michael Zimmerman Signature:                                                      Date:   Nov-06-2022 | 10:39:30 AM CST



 Name: Vered Zimmerman Signature:                                                      Date: Nov-06-2022 | 12:29:59 PM CST


 Name:     Signature:   Date:

 Name:     Signature:   Date:

 Name:     Signature:   Date:

 Name:     Signature:     Date:

 Guarantor:      Signature:     Date:




                                General Information about Residential Tenancy Agreements



 Important Legal Document - This tenancy agreement is an important legal document. Keep it in a safe place.

 Additional Terms - Any additional terms cannot contradict or change any right or duty under the RTA or this tenancy
 agreement.

 Amendment of the RTA - The RTA or a regulation made under the RTA, as amended from time to time, take priority over the
 terms of this tenancy agreement.

 Condition Report - The landlord and tenant are required to inspect the residential unit together at the beginning and end of the
 tenancy and complete a written condition report. If the landlord allows the tenant to have a pet after the start of the tenancy, an
 inspection report must be done on the day the tenant starts keeping a pet or on another day mutually agreed to by the landlor d
 and tenant, unless the tenancy started on or after January 1, 2004, and a condition inspection report was completed at that time.
 A report may describe any damage, how clean each room is, and the general condition of the residential unit including: the floors,
 carpets, appliances, and paint on the walls. The report must be signed and dated by both the landlord and the tenant who made
 the inspection, and each should keep a copy.

 Change of Landlord - A new landlord has the same rights and duties as the previous one and must follow all the terms of this
 agreement unless the tenant and new landlord agree to other terms.

 Resolution of Disputes - If problems or disagreements arise, the landlord and tenant should try to talk to each other to find a
 solution. If they still cannot agree, either may contact the Residential Tenancy Branch for clarification of their right s and
 responsibilities or an intervention. If no agreement is reached, a landlord or a tenant may apply for a dispute resolution to get a
 decision. Many, but not all, kinds of disagreements can be decided by dispute resolution.
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                         FOR MORE INFORMATION - RTB website: www.gov.bc.ca/landlordtenant
         Public Information Lines 1-800-665-8779 (toll-free) Greater Vancouver 604-660-1020 Victoria 250-387-1602


                                                                                               PM RTB-1 REV: 11/2017 DOCUSIGN




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                                                    1253 Johnston Street, Vancouver, BC Canada, V6H 3R9
                                                         Telephone: 604-683-7373 Fax: 604-683-3061
                                                                www GranvilleIslandHotel com



Michael Zimmerman

Sunnyvale CA 94087                                                                      Room No.
United States
                                                                                 Arrival                    : 02/08/22
INFORMATION INVOICE                                                              Departure                  : 02/12/22
                                                                                 Page No.                   : 1 of 1
A/R Number            :                                                          Folio No.                  :
Group Code            :                                                          Conf. No.                  :
Company Name          : Platform Life Sciences.                                  Invoice No.                :
                                                          Thank You For Staying With Us.

Date           Text                                                                        Charges             Credits
                                                                                             CAD                 CAD

02/08/22       Room                                                                           259.00
02/08/22       Hotel Room Tax                                                                  28.49
02/08/22       Room GST                                                                        12.95
02/09/22       Interac Pin Pad                                                                                1,201.76
               XXXXXXXXXXXX                 XX/XX
02/09/22       Room                                                                           259.00
02/09/22       Hotel Room Tax                                                                  28.49
02/09/22       Room GST                                                                        12.95
02/10/22       Room                                                                           259.00
02/10/22       Hotel Room Tax                                                                  28.49
02/10/22       Room GST                                                                        12.95
02/11/22       Room                                                                           259.00
02/11/22       Hotel Room Tax                                                                  28.49
02/11/22       Room GST                                                                        12.95


               Total                                                               1,201.76               1,201.76


           Balance                                                     0.00 CAD


           Hotel Room Tax                                           113.96 CAD                                             113.96 CAD
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                                                    1253 Johnston Street, Vancouver, BC Canada, V6H 3R9
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                                                                www GranvilleIslandHotel com



Michael Zimmerman

Sunnyvale CA 94087                                                                      Room No.          :
United States
                                                                                 Arrival                  : 04/11/22
INFORMATION INVOICE                                                              Departure                : 04/14/22
                                                                                 Page No.                 : 1 of 1
A/R Number            :                                                          Folio No.                :
Group Code            :                                                          Conf. No.
Company Name          : Platform Life Sciences.                                  Invoice No.              :
                                                          Thank You For Staying With Us.

Date           Text                                                                        Charges            Credits
                                                                                             CAD                CAD

04/11/22       Room                                                                           179.00
04/11/22       Hotel Room Tax                                                                  19.69
04/11/22       Room GST                                                                         8.95
04/12/22       Room                                                                           179.00
04/12/22       Hotel Room Tax                                                                  19.69
04/12/22       Room GST                                                                         8.95
04/13/22       Restaurant                                                                      32.83
               CHECK# 8037
04/13/22       Restaurant                                                                      23.37
               CHECK# 8151
04/13/22       Restaurant                                                                      30.58
               CHECK# 8130
04/13/22       Room                                                                           179.00
04/13/22       Hotel Room Tax                                                                  19.69
04/13/22       Room GST                                                                         8.95
04/14/22       Mastercard Pin Pad                                                                             709.70
               XXXXXXXXXXXX                 XX/XX


               Total                                                                 709.70               709.70


           Balance                                                     0.00 CAD


           Hotel Room Tax                                             59.07 CAD                                           59.07 CAD
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Michael Zimmerman

Sunnyvale CA 94087                                                         Room No.
United States
                                                                    Arrival                  : 05/30/22
INFORMATION INVOICE                                                 Departure                : 06/09/22
                                                                    Page No.                 : 1 of 2
A/R Number         :                                                Folio No.                :
Group Code         :                                                Conf. No.                :
Company Name       :                                                Invoice No.              :
                                             Thank You For Staying With Us.

Date        Text                                                              Charges          Credits
                                                                                CAD              CAD

05/30/22    Room                                                                 309.00
05/30/22    Hotel Room Tax                                                        33.99
05/30/22    Room GST                                                              15.45
05/31/22    Room                                                                 309.00
05/31/22    Hotel Room Tax                                                        33.99
05/31/22    Room GST                                                              15.45
06/01/22    Room                                                                 309.00
06/01/22    Hotel Room Tax                                                        33.99
06/01/22    Room GST                                                              15.45
06/02/22    Restaurant                                                            30.00
            CHECK# 7000
06/02/22    Room                                                                 309.00
06/02/22    Hotel Room Tax                                                        33.99
06/02/22    Room GST                                                              15.45
06/03/22    Restaurant                                                             6.58
            CHECK# 7155
                  >Zimmerman Michael
06/03/22    Restaurant                                                             6.58
            CHECK# 7155
06/03/22    Room                                                                 309.00
06/03/22    Hotel Room Tax                                                        33.99
06/03/22    Room GST                                                              15.45
06/04/22    Restaurant                                                            62.00
            CHECK# 7202
06/04/22    Restaurant                                                            71.34
            CHECK# 7367
06/04/22    Restaurant                                                            24.60
            CHECK# 7384
06/04/22    Room                                                                 309.00
06/04/22    Hotel Room Tax                                                        33.99
06/04/22    Room GST                                                              15.45
06/05/22    Room                                                                 309.00
06/05/22    Hotel Room Tax                                                        33.99
06/05/22    Room GST                                                              15.45
06/06/22    Room                                                                 309.00
06/06/22    Hotel Room Tax                                                        33.99
06/06/22    Room GST                                                              15.45
06/07/22    Room                                                                 309.00
06/07/22    Hotel Room Tax                                                        33.99
06/07/22    Room GST                                                              15.45
06/08/22    Room                                                                 309.00
06/08/22    Hotel Room Tax                                                        33.99
06/08/22    Room GST                                                              15.45
06/09/22    Visa Pin Pad                                                                       3,785.50
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Michael Zimmerman

Sunnyvale CA 94087                                                         Room No.            :
United States
                                                                    Arrival                    : 05/30/22
INFORMATION INVOICE                                                 Departure                  : 06/09/22
                                                                    Page No.                   : 2 of 2
A/R Number         :                                                Folio No.                  :
Group Code         :                                                Conf. No.
Company Name       :                                                Invoice No.                :
                                             Thank You For Staying With Us.

Date        Text                                                              Charges              Credits
                                                                                CAD                  CAD

            XXXXXXXXXXXX       XX/XX


            Total                                                     3,785.50               3,785.50


        Balance                                           0.00 CAD


        Hotel Room Tax                                 339.90 CAD                                             339.90 CAD
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Michael Zimmerman

Sunnyvale CA 94087                                                                      Room No.            :
United States
                                                                                 Arrival                    : 06/20/22
INFORMATION INVOICE                                                              Departure                  : 06/23/22
                                                                                 Page No.                   : 1 of 1
A/R Number            :                                                          Folio No.                  :
Group Code            :                                                          Conf. No.                  :
Company Name          : Platform Life Sciences.                                  Invoice No.                :
                                                          Thank You For Staying With Us.

Date           Text                                                                        Charges              Credits
                                                                                             CAD                  CAD

06/20/22       Room                                                                           299.00
06/20/22       Hotel Room Tax                                                                  32.89
06/20/22       Room GST                                                                        14.95
06/21/22       Room                                                                           299.00
06/21/22       Hotel Room Tax                                                                  32.89
06/21/22       Room GST                                                                        14.95
06/22/22       Room                                                                           299.00
06/22/22       Hotel Room Tax                                                                  32.89
06/22/22       Room GST                                                                        14.95
06/23/22       Visa Pin Pad                                                                                     1,040.52
               XXXXXXXXXXXX                 XX/XX


               Total                                                               1,040.52               1,040.52


           Balance                                                     0.00 CAD


           Hotel Room Tax                                             98.67 CAD                                            98.67 CAD
